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TREASURY INSPECTOR GENERAL FOR TAX ADMINISTRATION




                   Status of Actions Taken to Improve the
                   Processing of Tax-Exempt Applications
                  Involving Political Campaign Intervention



                                         March 27, 2015

                             Reference Number: 2015-10-025




This report has cleared the Treasury Inspector General for Tax Administration disclosure review process
 and information determined to be restricted from public release has been redacted from this document.

Redaction Legend:
1 = Tax Return/Return Information



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                                                                                           Exhibit
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                                                                                        _____________
                                                                                              A
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                                                    HIGHLIGHTS


STATUS OF ACTIONS TAKEN TO                             conducted interviews with a random sample of
IMPROVE THE PROCESSING OF                              employees, who confirmed that BOLOs or
TAX-EXEMPT APPLICATIONS                                similar listings were no longer being used.
INVOLVING POLITICAL CAMPAIGN                           Second, the Exempt Organizations function
INTERVENTION                                           completed processing for 149 of the
                                                       160 applications for tax-exempt status that, as of
                                                       December 2012, had been open for lengthy
Highlights                                             periods. To expedite processing of
                                                       I.R.C. § 501(c)(4) social welfare applications, the
Final Report issued on March 27, 2015                  IRS developed an optional expedited
                                                       self-certification process. This expedited
Highlights of Reference Number: 2015-10-025            process is not available to other types of
to the Internal Revenue Service Commissioner           organizations, e.g., labor organizations and
for the Tax Exempt and Government Entities             business leagues, with similar political campaign
Division.                                              intervention limitations.

IMPACT ON TAXPAYERS                                    Third, the IRS has developed preapproved
                                                       questions and has instituted a quality review
In a prior audit, TIGTA found that ineffective         process to provide better assurance that
management resulted in 1) inappropriate criteria       unnecessary information requests are not sent
being used to identify for review organizations        to applicants.
applying for tax-exempt status based on names
and policy positions instead of indications of         The Department of the Treasury is revising draft
political campaign intervention, 2) substantially      guidance to address how to measure the
delayed processing of certain applications, and        “primary activity” of social welfare organizations.
3) unnecessary information requests being              Until this guidance is finalized, the IRS does not
issued. Recommendations from the prior audit           have a clearly defined test for determining
were made to help ensure that applications for         whether an organization’s request for exemption
tax-exempt status are processed in a fair,             as a social welfare organization should be
impartial, and timely manner.                          approved. As a result, for those applicants not
                                                       choosing the optional expedited process, the
WHY TIGTA DID THE AUDIT                                IRS continues to use a subjective facts and
                                                       circumstances process.
The overall objective of this audit was to
assess the IRS’s actions in response to                WHAT TIGTA RECOMMENDED
TIGTA’s recommendations to improve the
identification and processing of applications for      TIGTA recommended that the IRS take action to
tax-exempt status involving political campaign         improve the timing and execution of future
intervention.                                          training. In addition, if the optional expedited
                                                       self-certification process for I.R.C. § 501(c)(4)
WHAT TIGTA FOUND                                       organizations becomes a permanent process,
                                                       the IRS should consider providing this option to
The IRS has taken significant actions to
                                                       additional organizations with similar political
eliminate the selection of potential political cases
                                                       campaign intervention limitations.
based on names and policy positions, expedite
processing of Internal Revenue Code (I.R.C.)           In their response to our report, IRS management
Section (§) 501(c)(4) social welfare organization      agreed with both recommendations. The IRS
applications, and eliminate unnecessary                plans to improve the timing and execution of
information requests.                                  future training and consider extending the
                                                       optional expedited process to other types of
First, the IRS eliminated the use of Be On the
                                                       organizations, if it becomes a permanent
Look Out (BOLO) listings, which TIGTA
                                                       process.
determined had contained inappropriate criteria
regarding political advocacy cases. TIGTA
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                                               DEPARTMENT OF THE TREASURY
                                                     WASHINGTON, D.C. 20220




TREASURY INSPECTOR GENERAL
  FOR TAX ADMINISTRATION




                                              March 27, 2015


 MEMORANDUM FOR COMMISSIONER, TAX EXEMPT AND GOVERNMENT ENTITIES
                DIVISION


 FROM:                       Michael E. McKenney
                             Deputy Inspector General for Audit

 SUBJECT:                    Final Audit Report – Status of Actions Taken to Improve the
                             Processing of Tax-Exempt Applications Involving Political Campaign
                             Intervention (Audit # 201410009)

 This report presents the results of our review to assess the Internal Revenue Service’s (IRS)
 actions in response to the Treasury Inspector General for Tax Administration’s (TIGTA)
 recommendations1 to improve the identification and processing of applications for tax-exempt
 status involving political campaign intervention. This review is included in our Fiscal Year 2015
 Annual Audit Plan and addresses the major management challenge of Tax Compliance
 Initiatives.
 Management’s complete response to the draft report is included as Appendix VI.
 Copies of this report are also being sent to the IRS managers affected by the report
 recommendations. If you have any questions, please contact me or Gregory D. Kutz, Assistant
 Inspector General for Audit (Management Services and Exempt Organizations).




 1
  TIGTA, Ref. No. 2013-10-053, Inappropriate Criteria Were Used to Identify Tax-Exempt Applications for Review
 (May 2013).
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                                           Status of Actions Taken to Improve
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                             Abbreviations

BOLO                   Be On the Look Out
EO                     Exempt Organizations
I.R.C.                 Internal Revenue Code
IRS                    Internal Revenue Service
TIGTA                  Treasury Inspector General for Tax Administration
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                                           Background

In a May 2013 audit report,1 the Treasury Inspector General for Tax Administration (TIGTA)
determined that the Internal Revenue Service (IRS) used inappropriate criteria that identified for
review organizations applying for tax-exempt status based upon their names or policy positions
instead of indications of potential political campaign intervention.2 These applications (hereafter
referred to as potential political cases)3 were forwarded to a team of specialists4 for review. We
reported that ineffective management: 1) allowed inappropriate criteria to be developed and stay
in place for more than 18 months, 2) resulted in substantial delays in processing certain
applications, and 3) allowed unnecessary information requests to be issued. As a result, TIGTA
made nine recommendations to provide reasonable assurance that applications are processed in a
fair and impartial manner in the future without unreasonable delay.
The results of this follow-up report are based on audit work performed at the Exempt
Organizations (EO) function offices in Washington, D.C., and Cincinnati, Ohio, during the
period November 2013 through November 2014. During the time frame leading up to this audit
and during this audit, the IRS was making other changes to the tax-exempt application process
that went beyond the audit process covered in our prior audit. This audit focused only on actions
taken that were relevant to our prior nine recommendations.
We conducted this performance audit in accordance with generally accepted government
auditing standards. Those standards require that we plan and perform the audit to obtain
sufficient, appropriate evidence to provide a reasonable basis for our findings and conclusions
based on our audit objective. We believe that the evidence obtained provides a reasonable basis
for our findings and conclusions based on our audit objective. Detailed information on our audit
objective, scope, and methodology is presented in Appendix I. Major contributors to the report
are listed in Appendix II.




1
  TIGTA, Ref. No. 2013-10-053, Inappropriate Criteria Were Used to Identify Tax-Exempt Applications for Review
(May 2013).
2
  For the definition of “political campaign intervention” and other terms, see Appendix V.
3
  Until July 2011, the Exempt Organizations Rulings and Agreements office referred to these cases as Tea Party
cases. Afterwards, the Exempt Organizations function referred to these cases as advocacy cases.
4
  Initially, the team consisted of one specialist, but it was expanded to several specialists in December 2011.
The Exempt Organizations function referred to this team as the Advocacy team.
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                                 Results of Review

Significant Actions Have Been Taken to Address Prior Audit
Recommendations
The IRS has taken significant actions to address the nine recommendations made in our prior
audit report. These actions are designed to: 1) eliminate the selection of potential political cases
based on names and policy positions, 2) expedite processing of Internal Revenue Code (I.R.C.)
Section (§) 501(c)(4) social welfare organization applications, and 3) eliminate unnecessary
information requests. The following provides our detailed analysis of corrective actions taken by
the IRS on all nine recommendations.

The IRS has taken adequate corrective actions to address Prior
Recommendation 1
Prior Recommendation 1: Ensure that the memorandum requiring the Director, Rulings and
Agreements, to approve all original entries and changes to criteria included on the Be On the
Look Out listing prior to implementation be formalized in the appropriate Internal Revenue
Manual.
Prior audit results
The IRS developed and began using criteria to identify potential political cases for review that
inappropriately identified specific groups applying for tax-exempt status based on their names or
policy positions instead of developing criteria based on tax-exempt laws and Treasury
Regulations. In August 2010, the criteria for potential political cases in the first Be On the Look
Out (BOLO) listing were “Tea Party organizations applying for I.R.C. Section (§) 501(c)(3) or
I.R.C. § 501(c)(4) status.” This criterion was included on the BOLO listing as an emerging
issue. EO function officials stated that Determinations Unit specialists interpreted the general
criteria in the BOLO listing and developed expanded criteria for identifying potential political
cases. The expanded criteria included additional names as well as policy positions espoused by
organizations in their applications.
The Determinations Unit developed and implemented inappropriate criteria in part due to
insufficient oversight provided by management. For example, only front-line management
approved references to the Tea Party criteria contained in the BOLO listing before it was
implemented. In May 2012, the Director, Rulings and Agreements, issued a memorandum
requiring all original entries and changes to criteria included on the BOLO listings be approved
at the executive level prior to implementation.


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Current audit results
On June 20, 2013, the IRS issued a memorandum
suspending the use of the BOLO listings and other
listing used to identify cases or issues (including              Soon after the release
                                                                of TIGTA’s prior report,
emerging issues) for further review. The                        the IRS suspended the
IRS’s 30-day report issued on June 24, 2013, and an              use of BOLO listings.
August 9, 2013, memorandum also included this
guidance and further stated that, “In the absence of
BOLO lists, the Determinations Unit will continue to screen5 for information affecting the
determination of applications for tax-exempt status, including activity tied to political campaign
intervention, but it will be done without regard to specific labels of any kind.” In addition,
references to the BOLO listings and another previously used criteria listing6 were removed from
the Internal Revenue Manual.
We interviewed a statistically valid sample of 85 Determinations Unit employees to determine if
they: 1) were still using BOLO listings or other similar listings to identify cases or issues for
further review and 2) knew the factors or criteria that should and should not be considered when
reviewing a potential political case. All of the employees stated that they were not using
BOLO or similar listings, nor did they know of anyone else using such listings.7 In addition,
83 (98 percent) of 85 Determinations Unit employees responded that they only considered the
activities and/or facts and circumstances of each case or used interim guidance8 when
determining if there was potential political campaign intervention. The other two employees
stated that they did not know what criteria to use to identify potential political campaign
intervention.
In the absence of BOLO listings containing emerging issues, the EO function, in
September 2013, issued a memorandum creating a committee to serve as the central point of
contact within the EO function to screen, review, and monitor emerging issue referrals and to
make appropriate recommendations regarding them. Emerging issues include matters involving
abusive transactions, fraud, antiterrorism, large cases, and complex or sensitive issues9 for which
guidance is needed and require coordination within, and in some instances outside of, the
EO function.




5
  The IRS indefinitely suspended screening of applications in February 2014.
6
  A similar listing, known as the Touch and Go listing, was used prior to the implementation of the BOLO listing in
Calendar Year 2010.
7
  See Appendix I for our sampling methodology.
8
  Interim Guidance Memorandum on Initial Classification of Applications, dated September 30, 2013. This
memorandum provided procedures that screening is based on facts and circumstances of the stated activities rather
than the name or labels of the organization.
9
  Political campaign intervention issues would be considered under complex or sensitive issues.
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We reviewed the Emerging Issues Committee charter and related procedures and confirmed that
EO function senior managers on the committee determine if emerging issues require further
development. This elevates the review process above the front-line manager level in the
Determinations Unit. In addition, we reviewed committee meeting minutes and resulting
referrals. All of the documentation we reviewed indicates that decisions on referrals containing
emerging issues are being made based upon activities and not names or policy positions. Since
decisions are made by a committee and not a single front-line manager, as we found in our
previous audit, the approvals provide increased assurance that emerging issues are being
considered impartially.

The IRS has taken adequate corrective actions to address Prior
Recommendation 2
Prior Recommendation 2: Develop procedures to better document the reason(s) applications
are chosen for review by the team of specialists, e.g., evidence of specific political campaign
intervention in the application file or specific reasons the EO function may have for choosing to
review the application further based on past experience.
Prior audit results
We reviewed all 298 applications that had been identified as potential political cases as of
May 31, 2012, and sent them to the team of specialists. In the majority of cases, we agreed that
the applications submitted included indications of significant political campaign intervention.
However, we did not identify indications of significant political campaign intervention for
91 (31 percent) of the 296 applications10 that had complete documentation. Applications that
were forwarded to the team of specialists experienced substantial delays in processing, and some
organizations received additional request letters asking for unnecessary information.
We discussed our results with EO function officials, who disagreed with our findings regarding
applications for which we did not identify indications of significant political campaign
intervention. Although EO function officials provided explanations about why the applications
should have been identified as potential political cases, the case files did not include the specific
reason(s) the applications were selected. To provide further assurance that Determinations Unit
employees are handling tax matters in an impartial manner, we concluded that the IRS should
specifically document why applications are chosen for further review for potential significant
political campaign intervention.




10
     We could not complete our review of two cases due to inadequate documentation in the case files.
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Current audit results
The IRS has substantially changed its procedures for processing applications for tax-exempt
status since our prior audit. We believe that the current procedures address our original concern
that only applications with indications of significant political campaign intervention should be
worked as potential political cases and the basis for selection should be clearly documented in
the file. In early Calendar Year 2014, the IRS issued an interim guidance memorandum
indefinitely suspending the process of screening applications for tax-exempt status and no longer
assigns applications with indications of significant political campaign intervention to a specific
team of specialists in the Determinations Unit for processing.11 Instead, the IRS developed
different processes for I.R.C. §§ 501(c)(3) and 501(c)(4) applications.
IRS officials stated that I.R.C. § 501(c)(3)12 applications with indications of political campaign
intervention can be worked by any grade level 12 or higher Determinations Unit specialist
because Determinations Unit specialists have now been trained on how to identify and process
potential political cases.13 In addition, group managers and independent Quality Assurance
personnel are required to review additional information request letters and related case files
before the letters are sent to organizations to determine whether the scope of the requests are
appropriate. The addition of independent reviewers to evaluate the scope of additional
information requests provides greater assurance that these requests are necessary and contain
only relevant questions.
For I.R.C. § 501(c)(4) applications, the IRS designed an optional expedited process14 in which
Determinations Unit specialists send a letter to organizations whose applications include
indications of political campaign intervention.15 Organizations can choose to make
representations to the IRS under penalties of perjury regarding their past, current, and future
activities and receive a determination letter based on those representations. Figure 1 shows the
specific representations that applicants must make under penalties of perjury.




11
   As we were concluding our audit work, the EO function issued guidance to formally end the screening process
and allow Determinations Unit employees to work any cases which are appropriate for their grade level.
12
   I.R.C. § 501(c)(3) charitable organizations are prohibited from directly or indirectly participating in or intervening
in any political campaign on behalf of or in opposition to any candidate for public office.
13
   Training is discussed in more detail under the Prior Recommendations 3, 6, and 9 subheading.
14
   As of the end of our fieldwork, the guidance document relating to the optional expedited process had not been
incorporated into the Internal Revenue Manual.
15
   Before a letter can be sent to an organization, the IRS must determine that there are no other outstanding issues
surrounding tax-exempt status except for political campaign intervention.
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                    Figure 1: Letter 5228 Representations Regarding
           Past, Present, and Future Activities for I.R.C. § 501(c)(4) Applicants

      During each past year of the organization, during the current tax year, and during each
      future tax year in which the organization intends to rely on a determination letter issued
      under the optional expedited process, the organization has spent and anticipates that it
      will spend 60 percent or more of both the organization’s total expenditures and its total
      time (measured by employee and volunteer hours) on activities that promote social
      welfare (within the meaning of Section 501(c)(4) and the regulations thereunder).
      During each past tax year of the organization, during the current tax year, and during
      each future tax year in which the organization intends to rely on a determination letter
      issued under the optional expedited process, the organization has spent and anticipates
      that it will spend 40 percent or less of both the organization’s total expenditures and its
      total time (measured by employee and volunteer hours) on direct or indirect
      participation or intervention in any political campaign on behalf of (or in opposition to)
      any candidate for public office (within the meaning of the regulations under
      Section 501(c)(4)).
     Source: IRS Letter 5228. See Appendix IV for the complete letter.

If an organization chooses not to make the representation, the application is transferred to the
Technical Unit to independently analyze the application before contacting the applicant for
additional information. As of October 7, 2014, 12 applications were received and worked by the
Technical Unit since this process was extended to all organizations applying for tax-exempt
status under I.R.C. § 501(c)(4) in December 2013. We reviewed the case files of these
applications. There were indications of potential political campaign intervention documented in
****1***** case files before the case was transferred to the Technical Unit for review. ***1***
*****************************************1************************************
*****************************************1************************************
*********************1**********************************.16 The addition of an
independent review of applications by tax law specialists in the Technical Unit provides greater
assurance that only applications for tax-exempt status that contain indications of political
campaign intervention are worked as potential political cases.17




16
  ***************************************1*************************************************.
17
  As we were concluding our audit work, the IRS informed us that portions of the interim guidance will be included
in the Internal Revenue Manual, but cases will no longer be worked in the Technical Unit due to an organizational
realignment. Guidance on the revised process had not been issued when we concluded our audit work.
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The IRS completed corrective actions to address Prior Recommendations 3, 6,
and 9; however, actions should be taken to improve the timing and execution of
future training
Prior Recommendations 3, 6, and 9:
         Recommendation 3: Develop training or workshops to be held before each election cycle
          including, but not limited to, the proper ways to identify applications that require review
          of political campaign intervention.
         Recommendation 6: Develop training or workshops to be held before each election cycle
          including, but not limited to a) what constitutes political campaign intervention versus
          general advocacy (including case examples) and b) the ability to refer for follow-up those
          organizations that may conduct activities in a future year which may cause them to lose
          their tax-exempt status.
         Recommendation 9: Develop training or workshops to be held before each election cycle
          including, but not limited to, how to word questions in additional information request
          letters and what additional information should be requested.
Prior audit results
The IRS used inappropriate criteria to identify tax-exempt applications for review. The criteria
focused narrowly on the names and policy positions of organizations instead of tax-exempt laws
and Treasury Regulations. In addition, an internal IRS review determined that there appeared to
be some confusion by Determinations Unit specialists and applicants on what activities are
allowed by I.R.C. § 501(c)(4) organizations. The IRS also referred some applications that were
approved to another unit for follow-up.18 Lastly, we determined that the Determinations Unit
sent requests for information that we later (in whole or in part) determined to be unnecessary for
98 (58 percent) of 170 organizations. This information was requested because employees lacked
sufficient guidance and there were no managerial reviews of questions before additional
information requests were sent to organizations seeking tax-exempt status.
Current audit results
The IRS developed and provided extensive political campaign intervention training for relevant
Rulings and Agreements office employees, including all Determinations Unit employees.19 In
addition to providing written materials to its staff, the IRS developed virtual e-Learning sessions
using web-based software as well as smaller technical workshops held in face-to-face settings to
address potential political campaign intervention.


18
   The IRS has changed this process since the issuance of our prior report. Organizations are now referred to the
EO function Examinations Classification Unit for an assessment of whether an examination of the organization is
warranted.
19
   The training was held between May and August 2014.
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The required training appropriately addressed: 1) the use of activities, instead of names and
policy positions, to identify applications for further review, 2) what constitutes political
campaign intervention versus general advocacy, 3) the type of additional information that should
be requested and the appropriate wording of questions in additional information request letters,
and 4) a change in process for referring organizations to the EO function Examinations office.20
In addition, this training included a detailed case study with handouts and exercises the staff was
asked to complete related to organizations seeking tax-exempt status under I.R.C. §§ 501(c)(3)
and 501(c)(4) and how to address issues presented in the case study to determine if potential
political campaign intervention is indicated in the application. The case study was subsequently
discussed in the smaller individual group sessions.
Although the IRS addressed our prior recommendations regarding training, we identified
additional steps the IRS should take to improve upon the timing and execution of the training.
Training may not be offered timely
The IRS provided initial training to its staff and plans to provide recurring training before each
election, as we recommended. However, the EO function only completed training employees in
late August 2014. While that is understandable because the IRS had to develop the training and
the election cycle was already underway, we are concerned about the timing of the training going
forward. EO function officials informed us that political campaign intervention training will be
incorporated into their fiscal year training plan, and they plan to complete training prior to the
end of June in each year with a Federal general election. We believe this may be too late in the
election cycle for the training to be useful, as organizations involved in campaign-related
activities may apply for tax-exempt status much earlier in the election cycle.
In order for training to be effective, it needs to be delivered timely. According to Office of
Personnel Management guidance, “Federal agencies must be agile in their delivery of
‘just-in-time’ training to meet rapidly changing responsibilities and assignments.” In addition,
IRS Policy Statement 6-55 states that the IRS shall “...within the limits of appropriated funds,
make available to its employees all training determined by appropriate levels of management to
be needed for effective performance....”
Monitoring of attendance could be improved
As of August 27, 2014, 173 (79 percent) of 21921 personnel required to take the political
campaign intervention training have completed all of the training sessions. The remaining



20
   Previously, some applications were approved and referred for follow-up to the Review of Operations Unit
because the IRS suspected that the organization’s activities might jeopardize its tax-exempt status but did not have
sufficient cause to deny exemption. These applications are now referred to the EO function Examinations
Classification Unit, consistent with all other internal referrals.
21
   The IRS stated that one employee was on extended medical leave.
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46 employees did not complete one or more of the training sessions (nine employees) and/or did
not attend the training sessions for the required amount of time (40 employees).22
The Tax Exempt and Government Entities Division Learning and Education office gave
employees credit for attending if they attended all of the sessions, with a 10-minute grace period
for each session. Staff overseeing training would compare the exact length of time of the session
to how long the employee was connected to the web-based software. Employees were advised
when they had not met the attendance requirement and were asked to go back into the software
and listen to the part of the recording they had missed to complete the required training.
However, this methodology did not identify all employees who missed certain segments. Our
analysis of the attendance records, for the 40 employees who did not attend the training sessions
for the required amount of time, showed that employees:
         Signed onto the session in advance of the start time and were credited with attending the
          session when they had missed more than 10 minutes.
         Signed on more than 10 minutes after the training session started but stayed connected to
          the system after the training ended.
         Disconnected in the middle of the session, which resulted in gaps in the training that
          exceeded 10 minutes.
         Did not complete watching replays of the training sessions.
Figure 2 shows that most of the 40 employees missed only 11 to 15 minutes of a training session,
while other employees missed more of the training.




22
  Three employees did not complete a training session and did not attend another session for the required length of
time. Therefore, these numbers will not add up to 46.
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               Figure 2: Amount of Training Time Missed by Employees

                     25

                     20

                     15

         Number of 10
         Employees
                      5

                      0
                                               Missed Training (in minutes)
                             11 to 15     16 to 20    21 to 25     26 to 30   31 to 35   36+

       Source: TIGTA analysis of IRS training records.

If employees miss key portions of training sessions, they may not have the knowledge needed to
effectively and efficiently carry out their responsibilities. Accurate monitoring of training
attendance is essential to ensure that the staff is adequately trained to identify issues involving
political campaign intervention.
After reviewing our analysis, IRS officials responded that they thought a 15-minute grace period
was acceptable for these sessions instead of the 10-minute grace period previously used.
IRS officials stated that this extended grace period was in part due to issues involved with a large
number of employees attempting to log in to training sessions at the same time. IRS officials
also stated that they would direct those employees missing more than 15 minutes of any session
to retake the sessions.
The Learning and Education office did not evaluate the effectiveness of the training
We determined that the IRS did not complete the process designed to evaluate the effectiveness
of the training. Each of the training modules developed in response to our recommendations
contained an “Evaluation Process” section describing the process that would be used to evaluate
the training. This process, in accordance with IRS policy, requires evaluation of the process in
phases.
As part of the Level 1 phase (Learner Reaction), the Learning and Education office solicited
informal feedback (four questions) from the staff immediately at the completion of each of the
training sessions so that presenters could get immediate feedback. Formal evaluation of the
sessions should have been sent out to the participants once the recordation of the training was
complete on IRS tracking systems (within a week of course completion). However, IRS officials
informed us that training evaluations were not automatically sent to employees after training was
completed because of an oversight when inputting the courses into the training system. Once the

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oversight was discovered, management did not believe asking employees to complete the
surveys would be an effective use of resources and time due to the time that had passed and the
quality of the information received from the informal feedback.
In addition, the Learning and Education office did not compile or evaluate case study results
completed by students to determine if they learned skills and acquired knowledge as a result of
the training. This phase of the evaluation process is referred to as Level 2 feedback (Learner
Achievement). Learning and Education office officials stated that they did not consider
reviewing the results of the case study when conducting the Level 2 evaluation at the time of the
training. As we were completing our audit fieldwork, management informed us that they would
be performing a Level 3 evaluation (Impact on Job Performance).
Considering the importance of effectively training employees on proper handling of tax-exempt
applications, improvements in the timing and execution of future training are needed.

Recommendation
The Commissioner, Tax Exempt and Government Entities Division, should:
Recommendation 1: Assess the timing and execution of training on political activities and
incorporate any “lessons learned” into future training plans. The review should include, but not
be limited to:
       Completing training on political activities earlier in the election cycle so employees can
        effectively apply it.
       Reviewing the methodology used to determine training attendance and requiring
        employees who miss more than the allotted time to retake the missed segments.
       Evaluating all phases of the political campaign intervention training as outlined in
        IRS policy to gather credible data to improve training, which should in turn lead to
        improved job performance.
        Management’s Response: The IRS agreed with this recommendation and states it
        has assessed and evaluated the delivery of initial training on political activities and will
        incorporate best practices and lessons learned into future training plans. Specifically, the
        IRS:
           Recognizes the importance of completing training on political activities earlier in an
            election cycle and will begin delivery of training on political activities by March 1 of
            election years.
           Concurrent with its increasing use of virtual e-Learning technology, has already
            identified improved methods to accurately track attendance by employees within the
            parameters of the technology. The IRS will apply this improved methodology and

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            procedures to determine training attendance and require employees who miss more
            than the allotted time to retake training sessions.
           Will use data gathered from its evaluation of the political activity training provided
            between May and August 2014 to improve the materials and processes for the next
            cycle of training, which it intends to deliver in March 2016.

The IRS developed new procedures that address Prior Recommendation 4, but
documentation was not complete for the two requests submitted to the Technical
Unit
Prior Recommendation 4: Develop a process for the Determinations Unit to formally request
assistance from the Technical Unit and the Guidance Unit.
Prior audit results
Organizations that applied for tax-exempt status and had their applications forwarded to the team
of specialists experienced substantial delays. Potential political cases took significantly longer
than average to process due to ineffective management oversight. Once cases were initially
identified for processing by the team of specialists, the Determinations Unit program manager
requested assistance via e-mail from the Technical Unit23 to ensure consistency in processing the
cases. However, EO function management did not ensure that there was a formal process in
place for initiating, tracking, or monitoring requests for assistance. As a result, the
Determinations Unit waited more than 20 months (February 2010 to November 2011) to receive
draft written guidance from the Technical Unit for processing potential political cases.
Current audit results
The IRS issued an interim guidance memorandum creating a formal process for Determinations
Unit specialists to request assistance from the Technical Unit. All requests for technical
assistance must be in writing and accompanied by a completed EO Technical Assistance Request
Form and tracking sheet. Specific time frames are included in the procedures for completing
different steps in the process. For example, the Technical Unit must acknowledge receipt of the
request within two workdays and enter the request on the Technical Unit case tracking system.
Follow-up on the status of outstanding requests is required every 30 days, and the Technical Unit
has up to 120 days to provide a response. These new procedures adequately address our prior
recommendation.
Between July 15, 2013, and August 26, 2014, documentation provided by the EO function
showed that the Determinations Unit submitted two requests for technical assistance to the


23
  During our prior review, the IRS informed us that the Determinations Unit sought assistance from the Technical
Unit. The Technical Unit in turn worked with the Guidance Unit, which provides formal and informal guidance that
explains how certain laws, such as regulations, revenue rulings, revenue procedures, notices, and announcements,
may apply to tax-exempt organizations.
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Technical Unit. To help validate this number, we interviewed a statistically valid sample of
85 Determinations Unit employees and 31 of 35 Technical Unit employees24 to determine if there
were other technical assistance requests during this time frame.25 None of the employees
interviewed identified any other requests. Although the tracking sheets were incomplete for
these two requests, the Technical Unit provided responses to the Determinations Unit for each of
them within 40 days. During our review, EO function management indicated that they reminded
employees to complete all steps in the tracking process going forward.

The IRS has taken adequate corrective actions to address Prior
Recommendation 5
Prior Recommendation 5: Develop guidance for specialists on how to process requests for
tax-exempt status involving potentially significant political campaign intervention. This
guidance should also be posted to the Internet to provide transparency to organizations on the
application process.
Prior audit results
The Determinations Unit stopped working on potential political cases in October 2010 while it
waited for assistance from the Technical Unit. Draft written guidance was not received from the
Technical Unit until November 2011, which was 13 months after the Determinations Unit
stopped processing the cases. As of the end of our prior audit work in February 2013, the IRS
had developed draft guidance (in the form of a guide sheet) that included issues that specialists
should look for when processing potential political cases.26 The draft guide sheet had not been
finalized because the EO function decided to provide training instead.
In its response to our prior report, the IRS proposed that the training developed as a result of
other recommendations in the report would satisfy this recommendation. TIGTA disagreed and
believed that specific guidance should be developed and made available to specialists processing
potential political cases. Making this guidance available on the Internet for organizations could
also address a concern raised in the IRS’s response that many applications appear to contain
incomplete and inconsistent information.27
Current audit results
After the prior audit report was issued in May 2013, the IRS implemented significant changes to
the process for reviewing applications for tax-exempt status. The IRS developed, internally


24
   Four employees were not interviewed because they had either retired, transferred to another part of the IRS, were
on extended medical leave, or were under emotional stress.
25
   See Appendix I for our sampling methodology.
26
   Similar guide sheets involving other topics are available to the public on the IRS’s website.
27
   In response to the National Taxpayer Advocate’s 2007 Annual Report to Congress, the IRS commented that
putting guide sheets for processing applications for tax-exempt status on its Internet site would result in fewer
delays.
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issued, and posted guidance documents on the Internet in the form of interim guidance
memorandums. One of these guidance documents was for an optional expedited process28 for
I.R.C. § 501(c)(4) organizations involving potential political campaign intervention that had
already applied for tax-exempt status. Another updated the process for reviewing
I.R.C. § 501(c)(3) applications for tax-exempt status. The IRS also developed a template with
prewritten questions that specialists could choose from when preparing an additional information
request letter. Specialists may adapt the prewritten questions or compose unique questions to
solicit additional information from the applicant. This letter template is published on the Internet
for the public.
The revised letter and all of the template questions went through a comprehensive review process
prior to its implementation in January 2014. Subject matter experts from across the EO function,
along with the Tax Exempt and Government Entities Division Chief Counsel Office, the Office
of Taxpayer Correspondence, and the Office of the Taxpayer Advocate, reviewed the revised
letter prior to implementation. In addition, the IRS revised its process to require managers or the
Determinations Unit Quality Assurance group to review additional request letters involving
potential political campaign intervention prior to issuance.
In December 2013, the IRS also expanded the optional expedited process to all organizations
applying for I.R.C. § 501(c)(4) status whose applications indicate that the organizations may be
involved in political campaign intervention or in providing private benefit to a political party.
IRS officials decided to adopt this approach in part to address the backlog of cases identified in
our prior review and because it resulted in the best use of taxpayer and Government resources.
In addition, they thought that establishing a safe harbor provision in this area was consistent with
the IRS’s approach in other fact-specific areas in which reasonable people can disagree and the
law is not well-developed.
Other types of organizations applying for tax-exempt status that may be involved in potential
political campaign intervention activities are processed following the procedures for any
application for tax-exempt status needing further development. The optional expedited process
has not been offered to these organizations that may be involved in political campaign
intervention and, as shown in Figure 3, according to the IRS have similar restrictions.




28
     The optional expedited process is discussed in more detail under the Prior Recommendation 2 subheading.
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                              Figure 3: Common Tax Law Restrictions
                             on Activities of Tax-Exempt Organizations

                                                                                 501(c)(4) 501(c)(5) 501(c)(6)
Receive tax-deductible charitable contributions                                    NO29       NO        NO

Receive contributions or fees deductible as a business expense                     YES       YES       YES

Substantially related income exempt from Federal income tax                        YES       YES       YES

Investment income exempt from Federal income tax                                   YES       YES       YES

Engage in legislative advocacy                                                     YES       YES       YES

Engage in candidate election advocacy                                            LIMITED LIMITED LIMITED

Engage in public advocacy not related to legislation or election of candidates     YES       YES       YES
Source: Excerpt from http://www.irs.gov/Charities-&-Non-Profits/Common-Tax-Law-Restrictions-on-Activities-
of-Exempt-Organizations.

The optional expedited process was established in the interest of effective and efficient tax
administration and to assist in the transparent and consistent review of applications for
tax-exempt status under I.R.C. § 501(c)(4). While the IRS has closed many of the cases
associated with its backlog of I.R.C. § 501(c)(4) applications, the optional expedited process
remained in place as we were completing our audit work. If the IRS permanently adopts the
process and does not expand it to include other subsections, it may lead to inconsistent treatment
and additional burden for those organizations filing under a different I.R.C. subsection.
Regardless of the type of organization applying for tax-exempt status, the IRS does not have
guidance for measuring the primary activity of an organization. Without a clearly defined test
(sometimes referred to as a “bright-line” test) to measure the primary activity of an organization,
the IRS uses the facts and circumstances approach to determine if an organization’s political
activities constitute its primary activity.
Because the Department of the Treasury is drafting guidance on how to measure the primary
activity of I.R.C. § 501(c)(4) social welfare organizations, we are not making a recommendation
related to providing guidance on processing applications for I.R.C. § 501(c)(4) tax-exempt status
with potential political campaign intervention at this time.30




29
     The IRS stated that there are some exceptions to this restriction.
30
     The guidance is discussed in more detail under the Prior Recommendation 8 subheading.
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Recommendation
Recommendation 2: If the optional expedited process for I.R.C. § 501(c)(4) organizations
becomes a permanent process, the Director, EO, should consider providing this option to
additional organizations with similar political campaign intervention limitations.
         Management’s Response: The IRS agreed with this recommendation. If the
         optional expedited process for I.R.C. § 501(c)(4) organizations becomes a permanent
         process, the IRS will consider providing this option to additional organizations with
         similar political campaign intervention limitations. As part of its consideration, the IRS
         will evaluate data trends and consult with the Office of Chief Counsel (Tax Exempt and
         Government Entities Division) to ensure that any extension of the process is consistent
         with current statutory and regulatory requirements regarding political campaign
         intervention applicable to the type of I.R.C. § 501(c) organization under consideration.

The IRS has taken adequate corrective actions to address Prior
Recommendation 7
Prior Recommendation 7: Provide oversight to ensure that potential political cases, some of
which have been in process for three years, are approved or denied expeditiously.
Prior audit results
Ineffective oversight by management led to significant delays in processing potential political
cases. Draft written guidance was not provided by the Technical Unit until November 2011,
13 months after the Determinations Unit stopped processing the cases. Many organizations
waited much longer than 13 months for a decision. For example, as of December 17, 2012, the
IRS had been processing several potential political cases for more than 1,000 calendar days. For
the 296 potential political cases we reviewed,31 as of December 17, 2012, 108 applications had
been approved, 28 were withdrawn by the applicant, none had been denied, and 160 cases were
open from 206 to 1,138 calendar days (some crossing two election cycles).
Current audit results
We reviewed the 160 cases that were open as of December 17, 2012, to determine whether
appropriate oversight is being provided to ensure that they are approved or denied expeditiously.
As of December 4, 2014, 149 of the 160 open cases had been closed. Figure 4 shows how
each of the 149 cases were closed. Figure 5 shows that for the 149 cases closed32 since


31
  By December 17, 2012, two cases were no longer being processed by the team of specialists.
32
  For 136 cases we used the date the application was closed on the Employee Plans/Exempt Organizations
Determination System as the closed date. For 13 cases, we used the determination letter issuance date as the closed
date because the IRS stated it did not have resources to timely close the cases on the system. The fact that these
cases were not administratively closed on the system did not affect the 13 organizations receiving tax-exempt status.
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December 17, 2012, most were closed in one to three years, while a handful were closed in less
than a year, and the remaining 22 cases took three to six years to close.
                                      Figure 4: Closed Case Status

                             Closed Case Status                        Total Cases
                        Approved                                        107 (72%)
                        Failure to Establish33                          27 (18%)
                        Withdrawn by Applicant                            8 (5%)
                        Disapproved                                       7 (5%)
                        Total:                                              149
                       Source: TIGTA analysis of case file and Employee Plans/Exempt
                       Organizations Determination System data.

                        Figure 5: Total Length of Time Cases Were Open

                            Range of Elapsed Days From
                           Postmark Date to Closing Date                   Total Cases
                        Up to 1 year                                              5
                        More than 1 year to 2 years                               60
                        More than 2 years to 3 years                              62
                        More than 3 years to 4 years                              19
                        More than 4 years to 5 years                         ***1***
                        More than 5 years to 6 years                         ***1***
                        Total:                                                 14934
                       Source: TIGTA analysis of case file and Employee Plans/Exempt
                       Organizations Determination System data.



33
   Instances in which applicants do not respond to requests for information. The IRS sends the applicant a letter
telling them the application is in suspense for 90 days. If no response is received during that time, the case is closed
as failure to establish and the applicant has to reapply to obtain tax-exempt status. If the applicant responds within
90 days, the case is reactivated.
34
   The EO function indicated that 13 of 35 eligible applicants received Letter 948-e, Determination Letter for
Organizations Eligible Under the Optional Expedite Process, granting them tax-exempt status because the
organizations self-certified their eligibility for Section 501(c)(4) tax-exempt status. The remaining applicants were
not eligible for various reasons, e.g., their application was closed before the optional expedited process began or the
applicant was not requesting I.R.C. § 501(c)(4) status.

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Figure 6 shows that for the 149 cases closed since December 17, 2012, 60 were closed between
December 17, 2012, and May 14, 2013, (the date our prior report was issued). The majority of
the remaining closures were made within one year of the issuance of our prior report.
                             Figure 6: Length of Time Cases Were Open
                                 Since Prior TIGTA Report Issuance

                       Range of Elapsed Days From TIGTA
                                                                               Total Cases
                          Report Date to Closing Date
                    Closed before TIGTA report issuance                              60
                    Up to 1 year                                                     66
                    More than 1 year to 1½ years                                     23
                    Total:                                                          149
                  Source: TIGTA analysis of case file and Employee Plans/Exempt
                  Organizations Determination System data.

Figure 7 shows the status for the 11 cases open as of December 4, 2014.
                                   Figure 7: Status of Cases That
                                 Were Open as of December 4, 201435

                                      Current Status                            Total Cases
                    Ongoing litigation                                                6
                    Proposed adverse determination or in Appeals                      5
                    Total:                                                            11
                  Source: TIGTA analysis of case file and Employee Plans/Exempt
                  Organizations Determination System data.

Six cases involving litigation
As of December 4, 2014, six of the open cases were related to applicants in litigation with the
IRS. Processing of these cases was suspended because of the litigation. A determination letter
or ruling on tax-exempt status ordinarily is not issued if an issue involving the organization’s
tax-exempt status under I.R.C. § 501 is pending in litigation. If the IRS is able to make a
determination on the tax-exempt status while the case is being litigated, the EO function can send
the determination letter to the Department of Justice which chooses whether to issue it.36


35
   The IRS provided documentation on the day our draft report was issued that a proposed adverse determination
was issued for a case previously under development. We updated our results accordingly.
36
   The IRS informed us that the Department of Justice retains jurisdiction of cases involved in litigation with the
IRS.
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Five cases involving proposed adverse determinations or in Appeals
Five of the open cases involved instances in which organizations are entitled to protest a
proposed determination or appeal a determination made by the IRS. When the IRS proposes an
adverse determination, officials from organizations applying for tax-exempt status are provided
the opportunity to meet with IRS officials (referred to as a Conference of Right) to provide
additional information in support of their application. The IRS must consider the additional
information provided by the applicant and either approve the application or address the
additional information in its rationale for denying the application. If the application is denied,
the organization may appeal the EO function’s decision to the Office of Appeals.

The IRS has taken adequate corrective actions to address Prior
Recommendation 8
Prior Recommendation 8: Recommend to IRS Chief Counsel and the Department of the
Treasury that guidance on how to measure the “primary activity” of I.R.C. § 501(c)(4) social
welfare organizations be included for consideration in the Department of the Treasury Priority
Guidance Plan.
Prior audit results
An internal IRS review determined that there appeared to be some confusion by Determinations
Unit specialists and applicants on what activities are allowed by I.R.C. § 501(c)(4) organizations.
We believe this could be due to the lack of specific guidance on how to determine the
primary activity of an I.R.C. § 501(c)(4) organization. Treasury Regulations state that
I.R.C. § 501(c)(4) organizations should have social welfare as their primary activity; however,
the regulations do not define how to measure whether social welfare is an organization’s primary
activity.
Current audit results
Guidance was included for consideration in the Department of the Treasury 2013–2014 Priority
Guidance Plan on how to measure the primary activity of I.R.C. § 501(c)(4) social welfare
organizations and the Department of the Treasury 2014–2015 Priority Guidance Plan on
proposed regulations under I.R.C. § 501(c) relating to political campaign intervention. However,
without finalized guidance, the IRS does not have a “bright line” test to measure the primary
activity of an organization. Unless the organization makes representations to the IRS under
penalties of perjury regarding their past, current, and future activities as part of the optional
expedited process, the IRS still uses the facts and circumstances method to make a determination
of tax-exempt status. Because the Department of the Treasury is in the process of drafting
guidance, we are not making additional recommendations at this time.




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                                                                                             Appendix I

         Detailed Objective, Scope, and Methodology

The overall objective of this review was to assess the IRS’s actions in response to TIGTA’s prior
recommendations1 to improve the identification and processing of applications for tax-exempt
status involving political campaign intervention.2 To achieve this objective, we:
I.      Assessed corrective actions taken by the EO function in direct response to our
        prior Recommendation 1.
        A. Reviewed documentation obtained, including all documents related to the Emerging
           Issues Committee (including any results to date), to obtain reasonable assurance that
           only activities, not names or policies, were considered in reviewing Emerging Issues
           Committee referrals.
        B. Verified that the addition of any emerging issues was approved by the appropriate
           level of IRS management.
        C. Selected and interviewed a statistically valid sample of 85 Determinations Unit and
           Quality Assurance first-line managers and employees responsible for processing
           applications for tax-exempt status from the population of 176 employees to determine
           if BOLO listings or similar listings were still in use and if they knew the criteria that
           should be considered when processing cases. A statistical sample was used to allow
           the results to be projected to the overall population. We relied on TIGTA’s contract
           statistician to verify our sampling methods. We calculated our sample size using a
           90 percent confidence interval, 5 percent precision, and 10 percent estimated error
           rate as adjusted by the contract statistician. Therefore, we are 90 percent confident
           that “at most” 2.67 percent of employees were still using BOLO listings or other
           similar listings to identify cases or issues for further review. In addition, we are
           90 percent confident that “at most” 6.15 percent of employees do not know what
           information to consider when determining if there was potential political campaign
           intervention. The precision is based on a one-sided 90 percent confidence interval.
II.     Assessed the corrective actions taken by the EO function in direct response to our
        prior Recommendation 2.
        A. Obtained and reviewed relevant documentation containing new procedures and
           guidance.

1
  TIGTA, Ref. No. 2013-10-053, Inappropriate Criteria Were Used to Identify Tax-Exempt Applications for Review
(May 2013).
2
  For the definition of “political campaign intervention” and other terms, see Appendix V.
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        B. Determined if new procedures address the intent of the prior recommendation.
        C. Obtained and reviewed 12 applications that were worked by the Technical Unit after
           the optional expedited process was extended to all organizations applying for
           tax-exempt status under I.R.C. § 501(c)(4) in December 2013. We reviewed the
           associated case files to determine if there were indications of potential political
           campaign intervention documented in the case file before the case was transferred to
           the Technical Unit for review.
III.    Assessed the corrective actions taken by the EO function in direct response to our
        prior Recommendations 3, 6, and 9, which all related to training.
        A. Obtained documentation such as e-mails, memorandums, procedures, and guidance
           related to the corrective actions taken during the implementation of the
           recommendations.
        B. Obtained the training module developed by the EO function and determined if it
           appropriately addressed our prior recommendations.
        C. Determined if all applicable personnel were trained.
        D. Determined if the EO function had a plan in place to effectively evaluate the
           adequacy of the training and assessed the EO function’s efforts in evaluating the
           adequacy of the training.
        E. Assessed when and how often this training or workshop would be offered to
           employees.
IV.     Assessed the corrective actions taken by the EO function in direct response to our
        prior Recommendation 4.
        A. Obtained and reviewed relevant documentation such as e-mails, memorandums,
           procedures, and guidance related to the corrective actions to determine if the new
           procedures are complete and logical.
        B. Obtained and reconciled summary information to tracking sheets and actual requests
           to determine if requests were accounted for and addressed timely.
        C. Selected and interviewed a statistically valid sample of 85 Determinations Unit and
           Quality Assurance first-line managers and employees responsible for processing
           applications for tax-exempt status from the population of 176 employees, and
           31 Technical Unit first-line managers and employees from a population of
           35 employees3 to determine if any requests were not being tracked. A statistical
           sample was used to allow the results to be projected to the overall population. We

3
 Four employees were not interviewed because they had either retired, transferred to another part of the IRS, were
on extended medical leave, or were under emotional stress.
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           relied on TIGTA’s contract statistician to verify our sampling methods. We
           calculated our sample size using a 90 percent confidence interval, 5 percent precision,
           and 10 percent estimated error rate as adjusted by the contract statistician. Therefore,
           we are 90 percent confident that “at most” 2.67 percent of employees could identify
           technical assistance requests that were not being controlled. The precision is based
           on a one-sided 90 percent confidence interval.
V.      Assessed the corrective actions taken by the EO function in direct response to our
        prior Recommendation 5.
        A. Obtained documentation such as e-mails, memorandums, procedures, and guidance
           related to the corrective actions taken during the implementation of the
           recommendation.
        B. Assessed whether the guidance provided to specialists adequately addressed the
           recommendation and had been posted to the Internet.
VI.     Assessed the corrective actions taken by the EO function in direct response to our
        prior Recommendation 7.
        A. Obtained and reviewed documentation such as e-mails, memorandums, procedures,
           and guidance related to the corrective actions taken during the implementation of the
           recommendation to determine if the IRS adequately addressed the recommendation.
        B. Determined whether appropriate oversight was given to all relevant cases.
           1. Requested copies of case files to determine the current status of the cases.
           2. Reviewed open cases to determine if there were any delays in completing the
              cases.
VII.    Assessed the corrective actions taken by the EO function in direct response to our
        prior Recommendation 8.
        A. Obtained documentation such as e-mails, memorandums, procedures, and guidance
           and determined if the corrective action was completed.
        B. Reviewed the Department of the Treasury 2013–2014 Priority Guidance Plan and
           Department of the Treasury 2014–2015 Priority Guidance Plan to determine if
           guidance was being considered regarding how to measure whether social welfare is
           an organization’s primary activity.




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Internal controls methodology
Internal controls relate to management’s plans, methods, and procedures used to meet their
mission, goals, and objectives. Internal controls include the processes and procedures for
planning, organizing, directing, and controlling program operations. They include the systems
for measuring, reporting, and monitoring program performance. We determined that the
following internal controls were relevant to our audit objective: memorandums, procedures, and
guidance issued in response to our prior report and training provided to Determinations Unit
specialists. We evaluated these controls by interviewing IRS officials and reviewing applicable
documentation.




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                                                                            Appendix II

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Cheryl J. Medina, Senior Auditor
Julia Moore, Senior Auditor
Donald J. Martineau, Auditor
Michael A. McGovern, Auditor




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                                                                           Appendix III

                         Report Distribution List

Commissioner C
Office of the Commissioner – Attn: Chief of Staff C
Deputy Commissioner for Services and Enforcement SE
Deputy Commissioner, Tax Exempt and Government Entities Division SE:T
Director, Exempt Organizations, Tax Exempt and Government Entities Division SE:T:EO
Chief Counsel CC
National Taxpayer Advocate TA
Director, Office of Legislative Affairs CL:LA
Director, Office of Program Evaluation and Risk Analysis RAS:O
Office of Internal Control OS:CFO:CPIC:IC
Audit Liaison: Director, Communications and Liaison, Tax Exempt and Government Entities
Division SE:T:C&L




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                                                                                 Appendix IV

                                      Letter 5228

Letter 5228 is sent to organizations applying for tax-exempt status under I.R.C. Section 501(c)(4)
whose applications suggest they may be involved in political campaign intervention or in
providing private benefit to a political party.




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                                                                                  Appendix V

                              Glossary of Terms

      Term                                            Definition

Be On the Look      BOLO listings included a consolidated list of emerging issues the
Out                 EO function identified for dissemination to Determinations Unit specialists.

Bright Line         A bright-line test is a clear division between what is acceptable and what is
                    not from a legal, accounting, or regulatory perspective.

General             An organization engages in general advocacy when it attempts to:
Advocacy            1) influence public opinion on issues germane to the organization’s
                    tax-exempt purposes, 2) influence nonlegislative governing bodies, e.g., the
                    executive branch or regulatory agencies, or 3) encourage voter participation
                    through “get out the vote” drives, voter guides, and candidate debates in a
                    nonpartisan, neutral manner. General advocacy basically includes all types
                    of advocacy other than political campaign intervention and lobbying.

Optional            The IRS designed an optional expedited process in which Determinations
Expedited           Unit specialists send a letter to organizations whose I.R.C. § 501(c)(4)
Process             applications indicate potential political campaign intervention. The letter
                    allows the applicant to represent, under penalty of perjury, that it will spend
                    40 percent or less of both expenditures and time on non–social welfare
                    activities, e.g., political campaign intervention. If an organization makes
                    this representation, the application for tax-exempt status will be approved.

Political           Political campaign intervention is the term used in Treasury Regulations.
Campaign            For example, I.R.C. § 501(c)(3) charitable organizations are prohibited from
Intervention        directly or indirectly participating in or intervening in any political
                    campaign on behalf of or in opposition to any candidate for public office.

Priority Guidance The Department of the Treasury issues a Priority Guidance Plan each year
Plan              to identify and prioritize the tax issues that should be addressed through
                  regulations, revenue rulings, revenue procedures, notices, and other
                  published administrative guidance.



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     Term                                         Definition

Safe Harbor      The safe harbor option will provide certain groups an approved
                 determination letter granting them I.R.C. § 510(c)(4) status within two
                 weeks if they certify they devote 60 percent or more of both their spending
                 and time on activities that promote social welfare as defined by
                 I.R.C. § 501(c)(4). At the same time, they must certify that political
                 campaign intervention involves less than 40 percent of both their spending
                 and time. These thresholds apply for past, current, and future years of
                 operations.




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                                                         Appendix VI

 Management’s Response to the Draft Report




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